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                                                                                       FILED


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF WYOMING                             8:55 am, 8/31/23

                                                                              Margaret Botkins
                                                                               Clerk of Court
 TODD SCHMIDT,

               Plaintiff,
 vs.                                                  Case No. 2:23-cv-00101-NDF

 EDWARD SIEDEL, in his official capacity as
 the President of the University of Wyoming, and
 RYAN O’NEIL, individually and in her official
 capacity as Dean of Students for the University
 of Wyoming,

               Defendants.


             ORDER GRANTING IN PART AND DENYING IN PART
                   DEFENDANTS’ MOTION TO DISMISS


       This matter is before the Court on a Motion for a Partial Dismissal filed by

Defendants Edward Seidel (“Seidel”), in his official capacity as the President of

University of Wyoming (“UW”), and Ryan O’Neil (“O’Neil”), individually, and in her

official capacity as Dean of Students for UW (collectively, “UW Officials”) against

Plaintiff Todd Schmidt (“Schmidt”). ECF 17. For the following reasons, the Court grants

the Motion in part and denies the Motion in part.

       All claims against Ryan O’Neil individually including Schmidt’s request for

nominal damages, and Schmidt’s Third Cause of Action (Due Process), are DISMISSED

WITH PREJUDICE.
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                                                 Background1

        Schmidt is an elder at the Laramie Faith Community Church. ECF 9. He frequently

visits the UW campus to share his beliefs with UW college students on various social and

political issues from his religious perspective. ECF 9. He has reserved a table in the UW

Union breezeway on a regular basis for the past 17 years. ECF 9. The UW Union allows

campus groups and various outside organizations to utilize breezeway tables to

communicate with students. Id. The breezeway tables provide access to a high degree of

student pedestrian traffic. Schmidt uses his breezeway table to display various DVDs and

books. He also places on his table a Velcro-backed sign with plastic lettering to display

different messages. Id.

        According to UW Officials, they have over the years warned Schmidt to stay behind

his breezeway table2 and not engage in a confrontational manner towards passersby. ECF

15. The University alleges it has received and documented complaints from students that

Schmidt “got in people’s faces” while trying to talk to them and chased after students who

refused to speak with him. Id. Schmidt states that he was not aware of any student

complaints to University staff about him and received no warning from the University

regarding student complaints. ECF 8, p. 17.




1
  The Court recounted these facts in its Order granting the Plaintiff’s Motion for a Preliminary Injunction. ECF 23.
2
  “Persons responsible for their tables must remain behind their respective tables and in no way hinder the flow of
traffic through the building.” Wyoming Union Policies and Operating Procedures FY 2023, Art II, Sec. 5.B.8,
https://www.uwyo.edu/csil/student-orgs/_files/approved-union-policy-spring-2022.pdf (last visited August 7, 2023).

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        In September of 2022, a UW student named Artemis Langford joined a UW sorority.

Langford was born a biological male but identifies as female. Schmidt disagrees with the

propriety of transgender students joining sororities, and on December 2, 2022, he placed a

sign at his breezeway table in the Union stating, “God created male and female and Artemis

Langford is a male.” ECF 9. Various students gathered in front of his table in an attempt to

block others, and Langford,3 from seeing Schmidt’s sign. These students engaged in tense

debate with Schmidt. UW Dean of Students Ryan O’Neil asked Schmidt to remove

Langford’s name from his sign because it violated Article II Section 2.B.4 of the UW Union

policies,4 and because it targeted an individual University student in a protected class. ECF

15, p. 37. Schmidt initially refused to remove Langford’s name; however, after O’Neil

responded that she would call University Police, he agreed to remove Langford’s name.

ECF 9, p.6. O’Neil left and Schmidt continued to speak with students from his table. Id.

        On December 7, 2022, Dean O’Neil sent Schmidt a letter suspending his ability to

reserve a table in the UW breezeway until Spring 2024. ECF 8 p. 182. She also reminded

him to adhere to University policies or risk trespassing. Id. She based this decision on a

December 7th report from the University’s Equal Opportunity Report and Response Office5

which stated that Schmidt had violated UW Regulation 4-2 (Discrimination and




3
  Artemis Langford is both a UW student and an employee in the Wyoming Union. ECF 15.
4
  “Requests [for table space at the WY Union] may be denied for reasons which include, but may not be limited to,
conflict with the mission of the University, conflict with the mission of the Wyoming Union, unfeasible
setup/turnaround time, and historic negligence or abuse.” Wyoming Union Policies and Operating Procedures FY
2023, Art II, Sec. 2.B.4, https://www.uwyo.edu/csil/student-orgs/_files/approved-union-policy-spring-2022.pdf (last
visited August 7, 2023).
5
  The University stated that this office received at least 19 reports categorizing Schmidt’s conduct that day as
“discriminatory, harassing, and/or threatening.” ECF 15, p. 9.

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Harassment)6 and noted that his behavior was “on a trajectory which, if continued, is likely

to also create a hostile environment.” Id. Dean O’Neil also cited the Wyoming Union

Policies and Operating Procedures Article II Section 5.B.157 which prohibits

discrimination or harassment and requires individuals tabling in the Union to bring views

in a respectful and civil manner. Id. Lastly, she referenced prior multiple verbal warnings

to Schmidt for previous student complaints.

         Schmidt filed a complaint alleging violations of the Free Speech Clause of the First

Amendment, the Due Process and Equal Protection Clauses of the Fourteenth Amendment,

and of his right to be free from unconstitutional conditions. ECF 1. Schmidt then filed a

motion for a preliminary injunction seeking relief from application of any UW policy that

would bar him from access to a breezeway table in the UW Union or prevent him from

expressing his views about the sex status of Artemis Langford. ECF 8. The Court granted



6
  UW Regulation 4-2 defines those terms:
          Discrimination: Occurs when an individual suffers an adverse consequence on the basis of the individual’s
          Protected Class, including but not limited to failure to be hired or promoted or denial of admission to an
          academic program.
          Harassment: Verbal or physical conduct that unreasonably interferes with an individual's work or academic
          performance or creates an intimidating or hostile work or educational environment. This definition
          encompasses specific conduct and behaviors defined in UW Regulation 4-3 (Title IX and Sexual
          Misconduct).
University of Wyoming Regulations 4-2, https://www.uwyo.edu/regs-policies/_files/docs/regulations-july-
2018/uw_reg_4-2_effective_7-1-18.pdf (last visited August 7, 2023).
7
  “The union breezeway tabling will be maintained as a safe and non-threatening environment for student
organizations, university departments, university organizations, outside entities sponsored by one of the previous
groups listed, local merchants, vendors, and/or non-profits. Language or actions that discriminate or harass the
above groups will not be tolerated. Students are expected to recognize that respecting the dignity of every person is
essential for creating and sustaining a flourishing University community. Students should act to discourage and
challenge those whose actions may be harmful to and/or diminish the worth of others, in accordance with the
Student Code of Conduct. All individuals tabling, whether UW affiliated or not, are expected to bring their views in
a respectful and civil manner. a. Complaints received about students will be brought to the office of the Dean of
Students as a potential Student Conduct. Complaints received about external community members will be warned
once. Subsequent complaints may result in a loss of access to tabling.” Wyoming Union Policies and Operating
Procedures FY 2023, Art II, Sec. 5.B.15, https://www.uwyo.edu/csil/student-orgs/_files/approved-union-policy-
spring-2022.pdf (last visited August 7, 2023).

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this motion. ECF 23. The UW Officials filed the instant motion for partial dismissal

seeking to dismiss all claims against Ryan O’Neill individually, the third cause of action

(due process), the fourth cause of action (equal protection), and the request for nominal

damages. ECF 17.

                   Legal Standard for Rule 12(b)(6) Motions to Dismiss

       At this initial phase, the Court must take all well-pleaded factual allegations as true

and view those facts in the light most favorable to the plaintiff. Robbins v. Oklahoma, 519

F.3d 1242, 1247 (10th Cir. 2008). Dismissal is proper if, taking those facts as true, the

plaintiff has failed to present a plausible right to relief. Id.; see also Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The burden

is on the plaintiff to frame a ‘complaint with enough factual matter (taken as true) to

suggest’ that he or she is entitled to relief.” Robbins, 519 F.3d at 1247 (quoting Twombly,

550 U.S. at 556). “A plaintiff must nudge his claims across the line from conceivable to

plausible in order to survive a motion to dismiss.” Khalik v. United Air Lines, 671 F.3d

1188, 1190 (10th Cir. 2012) (internal citation and quotation marks omitted, citing

Twombly, 550 U.S. at 570). “Thus, mere ‘labels and conclusions’ and ‘a formulaic

recitation of the elements of a cause of action’ will not suffice.” Id. at 1191 (quoting

Twombly, 550 U.S. at 555). But “a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of the facts alleged is improbable and that a recovery is very

remote and unlikely.” Twombly, 550 U.S. at 556.




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                                         Discussion

Claims Against Dean O’Neil in her Individual Capacity

       The UW Officials argue that Dean O’Neil is entitled to qualified immunity with

respect to claims against her individually because she did not violate any clearly established

rights of Schmidt. Schmidt counters that she did in fact violate Schmidt’s clearly

established rights.

       Under the doctrine of qualified immunity, “government officials performing

discretionary functions generally are shielded from liability for civil damages insofar as

their conduct does not violate clearly established statutory or constitutional rights of which

a reasonable person would have known.” Shero v. City of Grove, Okl., 510 F.3d 1196, 1204

(10th Cir. 2007) (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). To survive a

motion to dismiss under Rule 12(b)(6) involving a qualified immunity defense, the plaintiff

“must allege facts sufficient to show (assuming they are true) that the defendants plausibly

violated their constitutional rights, and that those rights were clearly established at the

time.” Robbins v. Oklahoma ex rel. Dep’t of Human Servs., 519 F.3d 1242, 1249 (10th Cir.

2008)).

       “Ordinarily, in order for the law to be clearly established, there must be a Supreme

Court or Tenth Circuit decision on point, or the clearly established weight of authority from

other courts must have found the law to be as the plaintiff maintains.” Seamons v. Snow,

84 F.3d 1226, 1238 (10th Cir. 1996). Clearly established law provides officials with “fair

warning” their conduct is unconstitutional. Mimics, Inc. v. Vill. of Angel Fire, 394 F.3d

836, 842 (10th Cir. 2005). There need not be “a case directly on point, but existing

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precedent must have placed the statutory or constitutional question beyond debate.”

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). “Qualified immunity gives government

officials breathing room to make reasonable but mistaken judgments about open legal

questions.” Id.

       Here, Plaintiff argues that it is clearly established law that viewpoint discrimination

is unconstitutional. This is undeniably true. First Nat. Bank of Bos. v. Bellotti, 435 U.S.

765, 786 (1978) (holding that viewpoint discrimination plainly offends the First

Amendment). However, that statement is at too high a level of generality for qualified

immunity analysis. It does not tell us what sets of facts constitute viewpoint discrimination.

See Morgan v. Swanson, 755 F.3d 757, 761 (5th Cir. 2014) (holding that viewpoint

discrimination was too general a principle to have clearly established a teacher’s

constitutional obligations); see also Weise v. Casper, 593 F.3d 1163, 1167-68 (general

proposition that educator could not engage in viewpoint discrimination was not enough to

suggest clearly established law).

       Courts generally show a high degree of deference to educators’ professional

judgment because of the important, difficult job they perform. Morgan, 755 F.3d at 760;

see also Safford Unified Sch. Dist. No. 1 v. Redding, 557 U.S. 364, 37 (2009) (referring to

high degree of deference courts grants to educators in fourth amendment context).

Educators are rarely denied immunity in First Amendment cases. Morgan, 755 F.3d at 760.

This Court concluded in its Order Granting Plaintiff’s Motion for Preliminary Injunction,

ECF 23, that Schmidt was likely to prevail on his claim that he experienced

unconstitutional viewpoint discrimination. Dean O’Neil believed Schmidt’s use of a

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particular student’s name constituted harassment of that student based upon that student’s

membership in a class protected by law. While this Court disagreed, the analysis was not

straightforward, and Dean O’Neil’s belief was not unreasonable. First Amendment

jurisprudence in this area is “abstruse” and “complicated” and cannot be said to be clearly

established under these facts. Id. at 761; see also Abbott v. Pastides, 900 F.3d 160, 174

(holding that First Amendment parameters are especially difficult to discern in the school

context); see also Mellen v. Bunting, 327 F.3d 355, 376 (4th Cir. 2003) (college official

entitled to qualified immunity despite violating Establishment Clause). Therefore, the

Court finds that Dean O’Neil is entitled to qualified immunity. Qualified immunity bars all

claims against Dean O’Neil in her individual capacity including Plaintiff’s request for

nominal damages.8 Cummins v. Campbell, 44 F.3d 847, 850 (10th Cir. 1994).

Equal Protection Claim

        Defendants argue that Plaintiff’s Equal Protection claim violation contains mere

legal conclusions and fails as a matter of law. They argue that Schmidt has not identified

others who were similarly situated and how they were treated differently from himself.

Further, the University had a justifiable reason for its treatment of Schmidt. Schmidt

counters that his claim involves his status as a Christian and he is similarly situated to other

groups who table in the Union.

        “The Equal Protection Clause of the Fourteenth Amendment commands that no

State shall ‘deny to any person within its jurisdiction the equal protection of the laws,’


8
 Schmidt is not pursuing nominal damages against Defendants in their official capacities, ECF 21, p. 8. Therefore,
Schmidt will not be able to recover nominal damages.

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which is essentially a direction that all persons similarly situated should be treated alike.”

City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). Here, Schmidt’s

claims that he experienced differential treatment compared to those like him amounts to

merely a recasting of his First Amendment argument. He does not claim he was treated

differently in any way other than by experiencing viewpoint discrimination.

       When an equal protection claim merely rewords a first amendment claim we fuse

the claims together and they both succeed or fail simultaneously. See Barr v. Lafon 538

F.3d 554, 575 (6th Cir. 2008) (finding that plaintiffs’ equal protection claim and first

amendment claim entailed essentially the same analysis); see also R.A.V. v. City of St. Paul,

505 U.S. 377, 384 n. 4 (1992) (noting that Supreme Court sometimes fuses First

Amendment analysis with Equal Protection analysis); Hardwick ex rel. Hardwick v.

Heyward, 711 F.3d 426, 442 (4th Cir. 2013) (when alleged equal protection violation is

based on a First Amendment claim we fuse the First Amendment into the Equal Protection

Clause); see also Dariano v. Morgan Hill Unified Sch. Dist., 767 F.3d 764, 779-80 (9th

Cir. 2014) (same).

       The facts underlying Schmidt’s First Amendment claims are the same facts that

underly his Equal Protection claim. This Court has already found that Schmidt is likely to

succeed on his First Amendment claim. ECF 23. Therefore, because the analysis for the

two claims is essentially the same, Schmidt’s Equal Protection claim survives Defendants’

motion to dismiss. These two claims will fail or succeed together.




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Due Process Claim

           UW Officials argue that Schmidt’s Due Process Clause claim is a formulaic,

conclusory statement of law. Schmidt fails to specify why the University policies are

vague, and in fact just thinks they were wrongly applied to him. Schmidt counters that UW

policies 2.B.4 and 5.B.159 are unduly vague because they do not supply sufficient clarity.

           The Due Process Clause bars state actors from “depriv[ing] any person of life,

liberty, or property, without due process of law.” U.S. Const. amend. XIV. The void-for-

vagueness doctrine states that a policy is so vague as to violate due process if ordinary

people cannot understand what conduct is prohibited or the policy encourages arbitrary and

discriminatory enforcement. Kolender v. Lawson, 461 U.S. 352, 357 (1983). Even if

expressive rights are involved however, “perfect clarity and precise guidance” are not

required.” United States v. Williams, 553 U.S. 285, 304 (2008). “Nor does a regulation

flunk the vagueness test simply by ‘the possibility that it will sometimes be difficult to

determine whether the incriminating fact it establishes has been proved.’” Harmon v. City

of Norman, Oklahoma, 61 F.4th 779, 798 (10th Cir. 2023) (citing United States v. Williams,

553 U.S. 285, 306 (2008)).

           In the school disciplinary context courts demand less-specific policies because

schools need to maintain discipline. Sypniewski v. Warren Hills Reg'l Bd. of Educ., 307

F.3d 243, 266 (3d Cir. 2002); see Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 686




9
    See supra notes 4 and 7.

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(1986) (holding that school disciplinary rules need not be as detailed as a criminal code

which imposes criminal sanctions).

         Here, Schmidt claims that 2.B.4 is unduly vague. 2.B.4 states that the University

can deny reservation space in the UW Union for “historic negligence or abuse”, conflict

with the mission of the University10 or conflict with the mission of the Wyoming Union.11

Schmidt does not identify which mission statement he believes is vague. He merely claims

that they do not address the situation involving his sign nor does he know how he violated

them. This is not a persuasive argument. The Court finds that both mission statements, as

well as the phrase “historic negligence or abuse” are not so vague as to violate the Due

Process Clause. These phrases are written for the school context and have clear purposes.

         Similarly, Schmidt argues that 5.B.15 is vague. The portion of 5.B.15 that applies

to Schmidt requires individuals tabling to “bring their views in a respectful and civil

manner.”12 Schmidt believed he was behaving civilly. His belief does not mean the policy

fails to provide a standard for conduct. This policy “requires a person to conform his

conduct to an imprecise but comprehensible normative standard.” Coates v. City of

Cincinnati, 402 U.S. 611, 614 (1971).




10
   The University’s mission is defined: “As Wyoming’s university, we unlock the extraordinary in every person
through education, research, innovation, engagement, and service.” Forward for Wyoming Mission,
https://www.uwyo.edu/strategic-plan/mission-statement.html (last visited August 30, 2023).
11
   The Union’s mission is defined: “As an integral part of the University's educational mission, the Wyoming Union
fosters a sense of community by providing quality programs, services and facilities that promote development,
embrace diversity, and cultivate loyalty to the University. The Wyoming Union provides a nurturing environment
within which students are encouraged to pursue excellence, to develop leadership, and to realize their potential.”
Welcome to the Wyoming Union, https://www.uwyo.edu/union/index.html (last visited August 30, 2023).
12
   Schmidt also references the portion of 5.B.15 that prohibits discriminatory or harassing language but
acknowledges that this applies only to students. Therefore, it’s possible that this part of the policy was incorrectly
applied to Schmidt, but as written it does not fail to communicate what conduct is prohibited.

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       Lastly, Schmidt has not provided any argument that these policies encourage

arbitrary and discriminatory enforcement. Therefore, this Court dismisses Schmidt’s claim

that these policies are so vague as to violate the Due Process Clause.

                                        Conclusion

       For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN PART

Defendants’ Motion for Partial Dismissal. ECF 17. Therefore, it is HEREBY ORDERED

that the following claims are DISMISSED WITH PREJUDICE:

   x Claim III, Violation of the Due Process Clause; and

   x All claims pled against Ryan O’Neil, in her individual capacity including Plaintiff’s

       request for nominal damages.

IT IS SO ORDERED.

       Dated this 31st day of August, 2023.




                                   NANCY D. FREUDENTHAL
                                   UNITED STATES SENIOR DISTRICT JUDGE




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